255 F.2d 544
    GENERAL ACCIDENT FIRE &amp; LIFE ASSURANCE CORPORATION, Limited, et al., Appellants,v.Theodore BRITTON, Deputy Commissioner, District of Columbia Compensation District, Bureau of Employees' Compensation and Viola R. Bowman, Appellees.
    No. 14255.
    United States Court of Appeals District of Columbia Circuit.
    Argued April 10, 1958.
    Decided April 17, 1958.
    
      Mr. John A. Beck, Washington, D. C., for appellants.
      Mr. Ward E. Boote, Asst. Sol., Department of Labor, with whom Messrs. Oliver Gasch, U. S. Atty., and Lewis Carroll, Asst. U. S. Atty., were on the brief, for appellee Britton. Mr. Carl W. Belcher, Asst. U. S. Atty., also entered an appearance for appellee Britton.
      Mr. Norman S. Bowles, Jr., Washington, D. C., was on the brief for appellee Bowman.
      Before DANAHER, BASTIAN and BURGER, Circuit Judges.
      PER CURIAM.
    
    
      1
      Appellants had asked the District Court wholly to suspend or set aside the Deputy Commissioner's award of compensation to Mrs. Viola R. Bowman and to dismiss her claim. After consideration of cross motions for summary judgment, the motion of the Deputy Commissioner was granted and the action was dismissed. Basically the case involves the correctness of the finding by the Deputy Commissioner that the injury of the employee-claimant arose out of and in the course of her employment.
    
    
      2
      Mrs. Bowman concededly was employed as resident manager of an apartment house on twenty-four hour duty, seven days a week. She was subject to call at all times, much as was the employee in Scott v. Hoage, 1934, 63 App. D.C. 391, 73 F.2d 114. That the Deputy Commissioner could find that her injury while in duty status arose out of and in the course of her employment seems clear from Hartford Accident &amp; Indemnity Co. v. Cardillo, 1940, 72 App.D.C. 52, 112 F.2d 11, certiorari denied, 1940, 310 U.S. 649, 60 S.Ct. 1100, 84 L.Ed. 1415. It would seem that we may go no farther in the light of O'Leary v. Brown-Pacific-Maxon, 1951, 340 U.S. 504, 508, 71 S.Ct. 470, 95 L.Ed. 483, for we cannot say that the findings are not supported by substantial evidence on the record considered as a whole.
    
    
      3
      Affirmed.
    
    